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        Case Nos. 12-56067, 12-56068, 12-56077 (Consolidated)
        _______________________________________________

               UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT
                ___________________________________
                 ESTATE OF ROBERT GRAHAM et al.,
                                            Plaintiffs-Appellants,
                                   versus
                           SOTHEBY’S, INC.,
                                            Defendant-Appellee.
              ______________________________________
               THE SAM FRANCIS FOUNDATION et al.,
                                            Plaintiffs-Appellants,
                                   versus
                            CHRISTIE’S, INC.,
                                    Defendant-Appellee.
             _______________________________________
               THE SAM FRANCIS FOUNDATION et al.,
                                            Plaintiffs-Appellants,
                                   versus
                               EBAY INC.,
                                   Defendant-Appellee.
_______________________________________________________________
    On Appeal From the United States District Court, Central District of
California, Case Nos. CV 11-8604 JHN (FFMx), CV 11-8605 JHN (FFMx),
                        CV 11-8622 JHN (PLAx)
                  The Honorable Jacqueline H. Nguyen
                 _________________________________

  DEFENDANT-APPELLEE EBAY INC.’S MOTION TO STRIKE A
 PORTION OF PLAINTIFFS-APPELLANTS’ REPLY BRIEF OR, IN
   THE ALTERNATIVE, FOR LEAVE TO FILE A SUR-REPLY
Case: 12-56067, 01/30/2014, ID: 8959422, DktEntry: 66, Page 2 of 5




            _________________________________

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                               ARGUMENT

      Defendant-Appellee eBay Inc. (“eBay”) respectfully requests that the

Court strike the portion of Plaintiffs-Appellants’ Reply Brief that asserts an

argument that was not previously raised or, in the alternative, grant leave to

eBay to file the Sur-Reply which is submitted herewith.

      As grounds for this Motion, eBay joins in and incorporates by reference

the facts and argument contained in the Motion of Christie’s, Inc. and

Sotheby’s, Inc. to Strike a Portion of Plaintiffs’ Reply Brief, or, in the

Alternative, to Permit a Surreply, Dkt. No. 61-1.

                               CONCLUSION

      For the foregoing reasons, the Court should grant this Motion.




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Dated: January 30, 2014                   Respectfully submitted,

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                            CERTIFICATE OF SERVICE

         I, Angela L. Dunning, hereby certify pursuant to Federal Rule of

Appellate Procedure 25(d) and Circuit Rule 25-5(g) that I electronically filed

the foregoing with the Clerk of the Court of Appeals for the Ninth Circuit by

using the appellate CM/ECF system on January 30, 2014. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.


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